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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
4
     Attorney for Defendant
5    TIANA NAPLES
6
7                             IN THE UNITED STATES DISTRCIT COURT
8                          FOR THE EASTERN DISTRCIT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   NO. 2:14-CR-00022 JAM
                                                  )
11                         Plaintiff,             )   STIPULATION AND ORDER
                                                  )   TO CONTINUE STATUS CONFERENCE
12           v.                                   )
                                                  )
13   MARCUS A. COOPER, et al.,                    )   DATE: July 22, 2014
                                                  )   TIME: 9:30 a.m.
14                         Defendants.            )   JUDGE: Hon. John A. Mendez
                                                  )
15                                                )
16
             It is hereby stipulated and agreed to between the United States of America through its
17
     counsel MATTHEW MORRIS, Assistant U.S. Attorney; defendant TIANA NAPLES by and
18
     through her counsel, BENJAMIN GALLOWAY; and defendant LETICIA A. ROQUE by and
19
     through her counsel, TASHA P. CHALFANT that the status conference set for Tuesday, June
20
     17, 2014 be continued to Tuesday, July 22, 2014 at 9:30 a.m. The parties stipulate that the ends
21
     of justice are served by the Court excluding such time, so that counsel for the defendant may
22
     have reasonable time necessary for effective preparation, taking into account the exercise of due
23
     diligence. 18 U.S.C. §3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and Local Code T-
24
     4.
25
             Specifically, defense counsel needs additional time to investigate the facts of the case and
26
     review discovery with client. The parties stipulate and agree that the interests of justice served
27
     by granting this continuance outweigh the best interests of the public and the defendant in a
28

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1    speedy trial. 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare]
2    (Local Code T4).
3    Dated: June 11, 2014
                                                           Respectfully submitted,
4
                                                           HEATHER E. WILLIAMS
5                                                          Federal Defender
6                                                          /s/ Benjamin Galloway
                                                           BENJAMIN GALLOWAY
7                                                          Assistant Federal Defender
                                                           Attorney for Defendant
8                                                          TIANA NAPLES
9
     Dated: June 11, 2014                                  /s/ Tasha P. Chalfant
10                                                         TASHA P. CHALFANT
                                                           Attorney for Defendant
11                                                         LETICIA A. ROQUE
12
     Dated: June 11, 2014                                  /s/ Matthew Morris
13                                                         MATTHEW MORRIS
                                                           Assistant United States Attorney
14                                                         Attorney for Plaintiff
15                                                ORDER
16
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
17
     status conference presently set for June 17, 2014, be continued to July 22, 2014, at 9:30 a.m.
18
     Based on the representation of counsel and good cause appearing therefrom, the Court hereby
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     finds that the ends of justice to be served by granting a continuance outweigh the best interests of
20
     the public and the defendant in a speedy trial. It is ordered that time from June 17, 2014, to and
21
     including, July 22, 2014, the status conference shall be excluded from computation of time
22
     within which the trial of this matter must be commenced under the Speedy Trial Act pursuant to
23
     18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare] (Local Code
24
     T4).
25
     IT IS SO ORDERED.
26
     Dated: June 11, 2014
27                                                         /s/ John A. Mendez____________
                                                           Hon. John A. Mendez
28                                                         United States District Court Judge
                                                     -2-
